                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 1:06CR194
                                             )
              vs.                            )       ORDER FOR DISMISSAL
                                             )
MISAEL PEREZ ZARAGOSA                        )

       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment as to this Defendant only without prejudice.

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the Bill of Indictment in the above-captioned case is hereby DISMISSED WITHOUT

PREJUDICE as to the Defendant Misael Perez Zaragosa only.

       The Clerk is directed to transmit copies of this Order electronically to the United States

Attorney, United States Probation Office, the United States Marshal and Defendant’s counsel.

                                                 Signed: October 31, 2006




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